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                      UNITED STATES DISTRICT COURT
            FOR THE Northern District of Illinois − CM/ECF LIVE, Ver 6.2.2
                                 Eastern Division

Frank Bilek, et al.
                                             Plaintiff,
v.                                                           Case No.: 1:18−cv−01651
                                                             Honorable Jorge L. Alonso
Aristeo Construction Company, et al.
                                             Defendant.



                         NOTIFICATION OF DOCKET ENTRY



This docket entry was made by the Clerk on Friday, September 21, 2018:


        MINUTE entry before the Honorable Young B. Kim: In light of the remand order,
(R. 93), all matters relating to the referral of this action have been concluded. The referral
is closed and the case is returned to the assigned District Judge. Mailed notice(Kim,
Young)




ATTENTION: This notice is being sent pursuant to Rule 77(d) of the Federal Rules of
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